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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0497 (ABJ)
ANTHONY ALEXANDER ANTONIO,          )
                                     )
                  Defendant.         )
____________________________________)


                                             ORDER

       Defendant Anthony Alexander Antonio has been charged in a nine-count indictment with

a number of offenses, including obstruction of an official proceeding and aiding and abetting in

violation of 18 U.S.C. §§ 1512(c)(2) and 2. See Superseding Indictment [Dkt. # 26] at 2 (Count

II). He has moved to dismiss this count on the grounds that it fails to state an essential element of

the offense. See Am. Mot. to Dismiss Count Two [Dkt. # 45] (“Mot.”). 1 The government opposes

the motion. Gov’t’s Opp. to Def.’s Mot. to Dismiss Count Two [Dkt. # 47] (“Opp.”).

       The Federal Rules of Criminal Procedure require that an indictment must consist of “a

plain, concise, and definite written statement of the essential facts constituting the offense

charged.” Fed. R. Crim. P. 7(c)(1). The charging document “need only inform the defendant of

the precise offense of which he is accused so that he may prepare his defense and plead double

jeopardy in any further prosecution for the same offense.”           United States v. Williamson,

903 F.3d 124, 130 (D.C. Cir. 2018), quoting United States v. Verrusio, 762 F.3d 1, 13



1      Defendant filed his original Motion to Dismiss on January 23, 2023. See Mot. to Dismiss
Count II [Dkt. # 44]. On January 26, 2023, the Court issued a minute order stating that defendant
attached the incorrect memorandum in support of his motion and instructed counsel to file the
proper memorandum. See Min. Order (Jan. 26, 2023). Counsel filed the amended Motion to
Dismiss Count Two on January 27, 2023. See Mot.
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(D.C. Cir. 2014); see United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007). “It is generally

sufficient that an indictment set forth the offense in the words of the statute itself, as long as ‘those

words of themselves fully, directly, and expressly, without any uncertainty or ambiguity, set forth

all the elements necessary to constitute the offense intended to be punished.’” Hamling v. United

States, 418 U.S. 87, 117 (1974), quoting United States v. Carll, 105 U.S. 611, 612 (1882).

        A criminal defendant may move to dismiss an indictment before trial based on a “defect in

the indictment,” Fed. R. Crim. P. 12(b)(3)(B), including constitutional challenges. See United

States v. Eshetu, 863 F.3d 946, 952–53 (D.C. Cir. 2017), vacated in part on reh’g on other grounds,

898 F.3d 36 (D.C. Cir. 2018). “When considering a motion to dismiss an indictment, a court

assumes the truth of those factual allegations.” United States v. Ballestas, 795 F.3d 138, 149

(D.C. Cir. 2015), citing Boyce Motor Lines v. United States, 342 U.S. 337, 343 n.16 (1952). A

dismissal of an indictment “is granted only in unusual circumstances,” because “a court’s ‘use [of]

its supervisory power to dismiss an indictment . . . directly encroaches upon the fundamental role

of the grand jury.’” Id. at 148, quoting Whitehouse v. U.S. Dist. Court, 53 F.3d 1349, 1360 (1st

Cir. 1995).

        Count Two alleges:

                On or about January 6, 2021, within the District of Columbia and elsewhere,
                ANTHONY ALEXANDER ANTONIO, attempted to, and did, corruptly
                obstruct, influence, and impede an official proceeding, that is, a proceeding
                before Congress, specifically, Congress’s certification of the Electoral
                College vote as set out in the Twelfth Amendment of the Constitution of
                the United States and 3 U.S.C. §§ 15–18.

Indictment at 2. Defendant argues that Count Two fails to allege a violation of section 1512(c)(2);

he maintains that the Electoral College certification on January 6 was not an “official proceeding”

for purposes of the statute because “it did not have a ‘quasi-judicial function.’” Mot. at 5.




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Defendant adds that if the Court finds the term “official proceeding” to be ambiguous, the rule of

lenity would call for a narrow interpretation in defendant’s favor. Mot. at 9–10.

       Section 1512(c)(2) states: “Whoever corruptly . . . (2) otherwise obstructs, influences, or

impedes any official proceeding, or attempts to do so, shall be fined under this title or imprisoned

not more than 20 years, or both.” 18 U.S.C. § 1512(c)(2). The scope of the term “official

proceeding” is not left to the reader’s imagination, but it is specifically defined in the statute to

include:

               (A) a proceeding before a judge or court of the United States, a United States
                   magistrate judge, a bankruptcy judge, a judge of the United States Tax
                   Court, a special trial judge of the Tax Court, a judge of the United States
                   Court of Federal Claims, or a Federal grand jury;

               (B) a proceeding before the Congress;

               (C) a proceeding before a Federal Government agency which is authorized
                   by law; or

               (D) a proceeding involving the business of insurance whose activities affect
                   interstate commerce before any insurance regulatory official or agency
                   or any agent or examiner appointed by such official or agency to
                   examine the affairs of any person engaged in the business of insurance
                   whose activities affect interstate commerce.

18 U.S.C. § 1515(a)(1).

       Notwithstanding the fact that Congress used clear and unambiguous language to define

“official proceeding” to include a “proceeding before the Congress,” defendant insists that the term

should be given a narrow reading and limited to those occasions when the proceeding is serving a

quasi-judicial function. Mot. at 5–11. This Court has already rejected this argument on the

grounds that it is contrary to the plain text of the statute, and that the attempt to narrow the reach

of section 1512(c)(2) to obstructing the administration of justice in an adjudicative context is not

supported by its legislative history or the structure of the statute as a whole. See United States v.



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Williams, No. 21-cr-618, 2022 WL 2237301, at *8–9 (D.D.C. June 22, 2022); see also United

States v. Rodriguez, No. 21-cr-246, 2022 WL 3910580, at *3–8 (D.D.C. Aug. 31, 2022);

United States v. Gray, No. 21-cr-495, 2023 WL 2998862, at *4–5 (D.D.C. Jan. 26, 2023); Order,

United States v. Black, Case No. 21-cr-127 (D.D.C. July 26, 2022) [Dkt. # 51].

       Among other things, this Court has observed:

       When one reads the words “proceeding before the Congress” in the context of the
       other “official proceedings” specified in the list – “a proceeding before a judge or
       court . . . or a Federal grand jury,” “a proceeding before a Federal Government
       agency which is authorized by law,” and “a proceeding . . . before any insurance
       regulatory official or agency” – the term appears to apply to a formal gathering
       before the body in question, see United States v. Ermoian, 752 F.3d 1165, 1172
       (9th Cir. 2013), which is conducted under legal auspices, and is authorized to render
       some sort of decision or outcome. One would be hard-pressed to identify many
       other proceedings on Capitol Hill with more formality than a joint session of both
       houses of Congress that is called for by the Constitution itself, and over which the
       Vice President of the United States is required to preside. See U.S. Const. art. II,
       § 1; U.S. Const. amend. XII. This was not merely a ceremonial gathering, as one
       might describe a State of the Union address, but it fits the definition of a proceeding
       “before the Congress” because a quorum consisting of “a Member or Members
       from two thirds of the States, and a Majority of all the States” was required to be
       there, U.S. Const. art. II, § 1, cl. 3, and there was something specific to be
       determined: the outcome of the presidential election.

Williams, 2022 WL 2237301, at *9. Furthermore:

       The limitation would be illogical, since Congress was created in Article I of the
       Constitution to be the legislative branch of the tripartite government, with powers
       distinct from those of the other branches. While it may hold hearings to gather
       information relevant to potential enactments and amendments, and to perform its
       oversight responsibilities, it seldom sits as an adjudicative body or as the decision
       maker in an adversary proceeding.

Id.

       Moreover, every other court in this district presented with this argument has rejected it.

See, e.g., United States v. Robertson, 588 F. Supp. 3d 114, 119–122 (D.D.C. 2022), recons. denied,

610 F. Supp. 3d 229, 232–36 (D.D.C. 2022); United States v. Fitzsimons, 605 F. Supp. 3d 132,

137–40 (D.D.C. 2022); United States v. Bingert, 605 F. Supp. 3d 111, 115–28 (D.D.C. 2022);

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United States v. Reffitt, 602 F. Supp. 3d 85 (D.D.C. 2022); United States v. Puma, 596 F. Supp. 3d

90, 96–108 (D.D.C. 2022); United States v. Grider, 585 F. Supp. 3d 21, 27–34 (D.D.C. 2022),

recons. denied, 617 F. Supp. 3d 42, 48 (D.D.C. 2022); United States v. McHugh, 583 F. Supp. 3d

1, 11–28 (D.D.C. 2022), recons. denied, No. 21-cr-453 (JDB), 2022 WL 1302880, at *2–13

(D.D.C. May 2, 2022); United States v. Montgomery, 578 F. Supp. 3d 54, 61–87 (D.D.C. 2021);

United States v. Nordean, 579 F. Supp. 3d 28, 41–54 (D.D.C. 2021); United States v. Mostofsky,

579 F. Supp. 3d 9, 24–27 (D.D.C. 2021); United States v. Caldwell, 581 F. Supp. 3d 1, 10–34

(D.D.C. 2021); United States v. Sandlin, 575 F. Supp. 3d 16, 21–34 (D.D.C. 2021);

United States v. Gossjankowski, No. 21-cr-123 (PLF), 2023 WL 130817, at *7–10 (D.D.C. Jan. 9,

2023); United States v. Sheppard, No. 21-cr-203 (JDB), 2022 WL 17978837, at *2–4

(D.D.C. Dec. 28, 2022); United States v. Nordean, No. 21-cr-175 (TJK), 2022 WL 17583799, at

*15 (D.D.C. Dec. 11, 2022); United States v. Gillespie, No. 22-cr-60 (BAH), 2022 WL 17262218,

at *2–3 (D.D.C. Nov. 29, 2022); United States v. Weeks, No. 21-cr-247 (TFH), 2022 WL 9296415,

at *3–5 (D.D.C. Oct. 14, 2022); United States v. Hale-Cusanelli, No. 21-cr-37 (TNM),

2022 WL 4300000, at *1 (D.D.C. Sept. 19, 2022); United States v. Brock, No. 21-cr-140 (JDB),

2022 WL 3910549, at *2–5 (D.D.C. Aug. 31, 2022); United States v. Andries, No. 21-cr-93 (RC),

2022 WL 768684, at *3–7 (D.D.C. Mar. 14, 2022); United States v. Bozell, No. 21-cr-216 (JDB),

2022 WL 474144, at *2–5 (D.D.C. Feb. 16, 2022).

       One court did grant a motion to dismiss a count charging a violation of 18 U.S.C.

§ 1512(c)(2). See United States v. Miller, 589 F. Supp. 3d 60, 67, 79 (D.D.C. 2022), recons.

denied, 605 F. Supp. 3d 63 (D.D.C. 2022), and rev’d and remanded sub nom. United States v.

Fischer, ---- F.4th ----, 2023 WL 2817988 (D.C. Cir. 2023). But it did so on grounds not raised

here – that the provision only applies if the defendant took some action with respect to a document,



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record, or other object, and even that court agreed with the government that the congressional

certification of the Electoral College results qualified as an “official proceeding.”         Miller,

589 F. Supp. 3d at 67, 79.

        This ruling has been upheld on appeal. The D.C. Circuit reversed and remanded the district

court’s decision regarding the conduct covered by the statute, holding that section 1512(c)(2)

unambiguously encompasses “all forms of obstructive acts” and “not just those limited to

tampering with documents or objects.” Fischer, 2023 WL 2817988, at *4–5. But with respect to

the argument defendant advances here, the Circuit confirmed that the statutory definition of

“official proceeding” includes a “proceeding before the Congress.” Id. at *9.

                Although appellees strain to argue that the Electoral College vote
                certification is not a “proceeding before the Congress” because it does not
                involve “investigations and evidence,” . . . we see no such limit in the
                ordinary meaning of the word “proceeding.” See Proceeding, Oxford
                English Dictionary (2d ed. 1989) (“[T]he carrying on of an action or series
                of actions.”).

Id. (alteration in original).

        Given the language of the statute and the guidance provided by the Court of Appeals,

defendant’s motion to dismiss Count Two [Dkt. # 44] and amended motion to dismiss Count Two

[Dkt. # 45] are DENIED.

        SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge
DATE: April 24, 2023




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